                                 Fourth Court of Appeals
                                          San Antonio, Texas
                                    MEMORANDUM OPINION
                                              No. 04-23-00263-CR

                               EX PARTE Elwin Roberto ORTIZ LAGOS

                              From the County Court, Kinney County, Texas
                                        Trial Court No. 11126CR
                                Honorable Dennis Powell, Judge Presiding

PER CURIAM

Sitting:          Irene Rios, Justice
                  Beth Watkins, Justice
                  Lori I. Valenzuela, Justice

Delivered and Filed: August 14, 2024

DISMISSED FOR WANT OF JURISDICTION

           Appellant, Elwin Roberto Ortiz Lagos, appeals from the denial of his pretrial application

for writ of habeas corpus seeking dismissal of the criminal charge against him based on an alleged

violation of his state and federal rights to equal protection.

           Several weeks after Ortiz Lagos filed his notice of appeal, the State filed a motion to

dismiss the criminal charge against him. The trial court granted the State’s motion and dismissed

the underlying criminal case against Ortiz Lagos on May 30, 2023. 1

           On July 8, 2024, we notified Ortiz Lagos that this case appears to be moot and ordered him

to file a response showing how the appeal is not moot. Ortiz Lagos failed to respond to our order.


1
  The original clerk’s record was filed on March 31, 2023. For reasons that do not appear in the record, the State’s
May 26, 2023 motion to dismiss and the trial court’s May 30, 2023 dismissal order were not filed with this court until
the trial court clerk filed a supplemental clerk’s record on June 26, 2024.
                                                                                   04-23-00263-CR


       The dismissal of the charges against Ortiz Lagos rendered his appeal from the denial of his

pretrial habeas writ moot. See Ex parte King, No. 05-20-00781-CR, 2021 WL 5817329, at *1 (Tex.

App.—Dallas Dec. 7, 2021, no pet.) (mem. op., not designated for publication); Ex parte Sewell,

495 S.W.3d 54, 55 (Tex. App.—Houston [14th Dist.] 2016, no pet.); Darnell v. State, No. 02-10-

00208-CR, 2010 WL 5019589, at *1 (Tex. App.—Fort Worth Dec. 9, 2010, no pet.) (mem. op.,

not designated for publication); Ex parte Hopkins, No. 05-96-00996-CR, 1997 WL 466521, at *1

(Tex. App.—Dallas Aug. 15, 1997, no pet.) (not designated for publication).

       Absent exceptions that are not applicable to this case, we have no jurisdiction to decide a

moot controversy. See King, 2021 WL 5817329, at *1; Ex parte Huerta, 582 S.W.3d 407, 410–13

(Tex. App.—Amarillo 2018, pet. ref’d); Sewell, 495 S.W.3d at 55–57; Hopkins, 1997 WL 466521,

at *1. Accordingly, we dismiss this appeal for want of jurisdiction.

                                                 PER CURIAM

DO NOT PUBLISH




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